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1
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7
                      UNITED STATES DISTRICT COURT
8               FOR THE NORTHERN DISTRICT OF CALIFORNIA
9

10   TRUZELLA LITTLETON,       )                     Case No. 4:13-cv-03591-NJV
11                             )
     Plaintiff,                )                     STIPULATION   TO   DISMISS
12
                               )                     DEFENDANT          ARROW
13          vs.                )                     FINANCIAL SERVICES, L.L.C.
14
                               )                     WITH PREJUDICE
     ARROW FINANCIAL SERVICES, )
15   L.L.C. AND LEGAL RECOVERY )
16   LAW OFFICES, INC.,        )
                               )
17
     Defendant.                )
18

19
           NOW COME Plaintiff, Truzella Littleton and Defendant, Arrow Financial
20
     Services, L.L.C. by and through their attorneys to respectfully move this Honorable
21

22   Court to dismiss Defendant, Arrow Financial Services, L.L.C. with prejudice
23
     pursuant to Federal Rules of Civil Procedure 41(a)(1)(A)(ii). Each party shall bear
24

25
     their own costs and fees. A proposed order has been concurrently submitted to this

26   Court via email.
27

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                                      Stipulation to Dismiss- 1
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                        Respectfully submitted this 3rd day of June, 2014

2                                        By: s/Todd M. Friedman
3                                            Law Offices of Todd M. Friedman, P.C.
                                             Attorney for Plaintiff
4

5                                        By: s/Debbie Kirkpatrick
6
                                             Sessions, Fishman, Nathan & Israel, LLP
                                             Attorney for Defendant
7

8    Filed electronically on this 3rd day of June, 2014, with:
9
     United States District Court CM/ECF system
10
     Notification sent electronically via the Court’s ECF system to:
11

12   Ms. Debbie Kirkpatrick
13
     Sessions, Fishman, Nathan & Israel, LLP
     1545 Hotel Circle South, Suite 150
14
     San Diego CA 92108
15
     This 3rd day of June, 2014.
16

17   s/Todd M. Friedman
18
     Todd M. Friedman

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                                       Stipulation to Dismiss- 2
